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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION                           ·FILED
                                                                                OCT 1 8 2018
UNITED STATES OF AMERICA,                         )                  U.S. DISTRICT COURT
                                                  )                EASTERN DISTRICT OF MO
                                                                           ST. LOUIS·
                  Plaintiff,                      )
                                                  )
          vs.                                     ) No.
                                                  )
DENNIS BRIAN KLOPFENSTEIN,                        )
                                                  )
                  Defendant.                      )
                                                        4:18-CR-00860 HEA/PLC

                   MOTION FOR PRE-TRIAL DETENTION AND HEARING

          Comes now the United States of Anierica? by and through its attorneys, Jeffrey B. Jensen,

United States Attorney for the Eastern District of Missouri, and Thomas C. Albus, Assistant

United States Attorney for said District, and moves the Court to order defendant detained

pending trial, and further requests that a detention hearing be held three (3) days from the date of

defendant's initial appearance before the United States Magistrate pursuant to Title 18, United

States Code, Section 3141, et seq.

          As and for its grounds, the Government states as follows:

1.        Defendant is charged with one count of interstate communication threats, in violation 18

U.S.C. § 875(c).

2.        There is a serious risk that the defendant will flee.
                                                                  \
          WHEREFORE, there are no conditions or combination of conditions that will reasonably

assure defendant's appearance as required and the Government requests this Court to order

defendant detained prior to trial, and further to order a detention hearing thr.ee (3) days from the

date of defendant's initial appearance.
Respectfully submitted,


JEFFREY B. JENSEN
UNITED STATES ATTORNEY


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